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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS


Yiwu Baimei Electronic Commerce Co., Ltd.,   )
a Chinese Limited Corporation                )        Case:
                                             )
             Plaintiff,                      )        Judge:
                                             )
             v.                              )        Mag.
                                             )
The Partnerships And                         )
Unincorporated Associations                  )
Identified On Schedule “A”                   )
                                             )
            Defendants.                      )
__________________________________

                                   EXHIBIT ONE
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